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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

VOCALIFE LLC,                                     §
                                                  §
                                                  §   CIVIL ACTION NO.           2:21-CV-00123-JRG
                Plaintiff,                        §   (LEAD CASE)
                                                  §
v.                                                §
                                                  §
HARMAN INTERNATIONAL                              §
INDUSTRIES INC.,                                  §
                                                  §
                Defendant.                        §

v.                                                §   CIVIL ACTION NO.           2:21-CV-00124-JRG
                                                  §   (MEMBER CASE)
GOOGLE LLC,                                       §
                                                  §
                                                  §
                Defendant.                        §

                                             ORDER

       Before the Court is Defendant Google LLC’s (“Google”) Unopposed Motion for Hearing

on Defendant Google LLC’s Motion to Dismiss for Improper Venue or Transfer (the “Motion”).

(Dkt. No. 52). In the Motion, Google requests a hearing on its Motion to Dismiss for Improper

Venue, or in the alternative, to Transfer (Dkt. No. 21). Plaintiff Vocalife LLC (“Vocalife”) does

not oppose the Motion.

       After the Motion was filed, the Court granted Google’s Motion to Stay Pending Resolution

of Motion to Transfer or Dismiss (Dkt. No. 56) and stayed the above-caption action while the

parties engage in narrowly tailored venue discovery to facilitate a fair and full adjudication of the

venue disputes. (Dkt. No. 71). On February 24, 2022, Vocalife and Google filed a Joint Status

Report Regarding Venue Discovery and informed the Court that they anticipate filing an additional
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joint notice apprising the Court of any further developments, including the completion of venue

discovery and the proposed timeline of any additional briefing. (Dkt. No. 72).

         Having considered the Motion, and in light of the procedural development since its filing,

the Court finds that it should be DENIED WITHOUT PREJUDICE. The Court will permit the

parties to file a renewed request for hearing following the filing of the anticipated joint notice.

         So ORDERED and SIGNED this 1st day of March, 2022.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE




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